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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

                                     )
George Sink, P.A. Injury Lawyers,    )                    No.: 2:19-cv-01206-DCN
                                     )
                   Plaintiff,        )
                                     )
       v.                            )                        Notice of Appeal
                                     )
George Sink II Law Firm, LLC; George )
Sink Law Firm, LLC; Southern Legal )
Association, LLC; and George (“Ted”) )
Sink, Jr.;                           )
                                     )
                   Defendants.       )

       Notice is hereby given that George Sink II Law Firm, LLC; George Sink Law Firm,

LLC; Southern Legal Association, LLC; and George (“Ted”) Sink, Jr.; Defendants in the above-

named case, hereby appeal to the United States Court of Appeals for the Fourth Circuit from the

Order entered in this action on August 9, 2019, granting Plaintiff’s motion for preliminary

injunction, &c. (ECF Entry 41).



Dated: 08/30/19                                    /s/ Jason Scott Luck
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